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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


MARVIN GORGEES,

             Plaintiff,

      v.
                                             Civil Action No. 21-0435 (ACR)
KATE NANAVATTY,
U.S. Consul General in Amsterdam,

             Defendant.




MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO MOTION TO DISMISS
